                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 18-po-07002-STV

UNITED STATES OF AMERICA,

       Plaintiff,

v.

PAUL ROSS JACKSON,

       Defendant.


                     MOTION FOR ORDER TO UN-RESTRICT CASE


       The United States of America, by and through Bryan D. Fields, Assistant United States

Attorney, hereby respectfully requests the Court un-restrict Case No. 18-po-07002-STV and the

documents in it. The defendant is aware of these proceedings and has agreed to come to court

voluntarily for the hearing on April 24, 2018. Accordingly, there is no reason for the documents

to remain restricted from public access.

       Respectfully submitted this 12th day of April, 2018.


                                                ROBERT C. TROYER
                                                United States Attorney

                                                s/ Bryan David Fields
                                                BRYAN DAVID FIELDS
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                                  CERTIFICATE OF SERVICE

       I certify that on this 12th day of April, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system that will send notification of such filing to all

counsel of record in this case.



                                                       s/ Bryan David Fields__________
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